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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAMEEL DEQUAN WALSTON,                             Civil No. 3:22-cv-1782

              Plaintiff                            (Judge Mariani)

       V.

PIKE COUNTY CORRECTIONAL
FACILITY, et al.,

              Defendants

                               ~"          ORDER

       AND NOW, this      J!i_!day of April, 2023, upon consideration of Defendants'
motion (Doc. 14) to dismiss, and the parties' respective briefs in support of and in opposition

to said motion, and for the reasons set forth in the accompanying Memorandum, IT IS

HEREBY ORDERED THAT:

       1.     The motion (Doc. 14) is GRANTED. The complaint is DISMISSED.

       2.     The Clerk of Court is directed to CLOSE this case.

       3.     Any appeal from this Order is DEEMED frivolous and not taken in good
              faith. See 28 U.S.C. § 1915(a)(3).




                                            Robert D:-Mariari1
                                            United States District Judge
